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                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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     ERIC LI, ANITA MEDAL, individually, and on
 9   behalf of all others similarly situated.,                No. 2:23-cv-01975-JHC

10                          Plaintiffs,                       STIPULATED MOTION AND
                                                              ORDER TO RE-NOTE AMAZON’S
11          v.                                                MOTION TO DISMISS AND
12                                                            PLAINTIFFS’ MOTION TO
     AMAZON.COM SERVICES LLC,                                 STRIKE AND/OR FOR LEAVE TO
13                          Defendant.                        FILE SURREPLY

14                                                            RE-NOTE ON MOTION
                                                              CALENDAR: FEBRUARY 23, 2024
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16          Plaintiffs Eric Li and Anita Medal (“Plaintiffs”) and Defendant Amazon.com Services LLC
17   (“Amazon”) (collectively, “the Parties”) respectfully submit this stipulated motion and proposed
18   order to re-note Amazon’s motion to dismiss and Plaintiffs’ related motion to strike or leave to file
19   surreply (“Surreply Motion”), and to stay other discovery-related deadlines, including the deadline
20   to file the case management statement, pending the Court’s decision on the motion to dismiss.
21          The action was transferred on December 19, 2023 from the United States District Court for
22   the Northern District of California. Dkts. 43, 44, 45. In granting Amazon’s motion to transfer
23   venue, the Northern District of California did not substantively address Amazon’s motion to
24   dismiss or Plaintiffs’ related Surreply Motion, other than to deny both motions without prejudice
25   to re-filing in this Court. Dkt. 43. Please take notice that Amazon is re-noting its motion to dismiss
26   (Dkt. 18), and Plaintiffs are re-noting their Surreply Motion (Dkt. 32) in accordance with the



     STIPULATED MOTION AND ORDER TO RE-NOTE AMAZON’S MOTION TO DISMISS AND PLAINTIFFS’
     SURREPLY MOTION - 1
 1   Deputy Clerk’s December 21, 2023 Letter (Dkt. 45) and Local Civil Rule 7(d)(3). The Parties

 2   respectfully request that the Court update the docket accordingly with the new noting date for both

 3   motions of February 23, 2024.

 4          Previously, the Parties had stipulated to, and the Northern District of California had

 5   ordered, a stay of discovery-related deadlines pending resolution of the pending motions. Dkts. 33,

 6   34. Specifically, the Court had ordered that the case management statement be due 14 days from

 7   when the Court decides the pending motions, and an initial case management conference would

 8   be held 21 days after the Court decides the pending motions. Dkt. 34. The Parties jointly request

 9   that this stay be continued pending resolution of the motions. A proposed order is attached.

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     STIPULATED MOTION AND ORDER TO RE-NOTE AMAZON’S MOTION TO DISMISS AND PLAINTIFFS’
     SURREPLY MOTION - 2
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 2    Dated: January 26, 2024
                                                     ALLEN HANSEN MAYBROWN &
 3    PERKINS COIE LLP                               OFFENBECHER / JUST FOOD LAW
 4                                                   PLLC_ / KUZYK LAW, LLP

 5
      By: s/ Charles C. Sipos                        By: s/ Maia C. Kats
 6        Charles C. Sipos                               Maia C. Kats
          Julie L. Hussey                                Michael Braun
 7        Jasmine W. Wetherell                           Todd Maybrown
          Ellie F. Chapman
 8                                                   Attorneys from Plaintiffs
      Attorneys from Defendant
 9    Amazon.com Services LLC

10
                                         LCR 7(e) Certification
11
              I certify that this memorandum contains 282 words, in compliance with the Local Civil
12
     Rules.
13
                                                    s/ Charles C. Sipos
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                                                    Charles C. Sipos
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     STIPULATED MOTION AND ORDER TO RE-NOTE AMAZON’S MOTION TO DISMISS AND PLAINTIFFS’
     SURREPLY MOTION - 3
 1                                           ORDER

 2         IT IS SO ORDERED.

 3         DATED this 26th day of January, 2024.

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                                                   JOHN H. CHUN
 6                                                 UNITED STATES DISTRICT JUDGE

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     STIPULATED MOTION AND ORDER TO RE-NOTE AMAZON’S MOTION TO DISMISS AND PLAINTIFFS’
     SURREPLY MOTION - 4
